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18
                              UNITED STATES DISTRICT COURT
19
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
20
                                   WESTERN DIVISION
21
     UNITED STATES OF AMERICA; the                No. CV 13-5861 JLS (AJWx)
22   STATES of CALIFORNIA, DELAWARE,
     FLORIDA, GEORGIA, HAWAII,                    UNITED STATES OF AMERICA’S
23   ILLINOIS, INDIANA, LOUISIANA,                STATUS REPORT
     MICHIGAN, MINNESOTA, MONTANA,
24   NEVADA, NEW HAMPSHIRE, NEW
     JERSEY, NEW MEXICO, NEW YORK,
25   NORTH CAROLINA, OKLAHOMA,
26   RHODE ISLAND, TENNESSEE, TEXAS,
     and WASHINGTON; COMONWEALTHS
27   of MASSACHUSETTS and VIRGINIA,
     and the DISTRICT OF COLUMBIA ex rel.
28   MARIA GUZMAN,
                Plaintiffs,
 Case 2:13-cv-05861-JLS-AJW Document 100 Filed 11/07/18 Page 2 of 4 Page ID #:1261




 1                    v.
 2   INSYS THERAPEUTICS, INC.;
     MICHAEL BABICH, an individual; ALEC
 3   BURLAKOFF, an individual; and DOES 1
     through 15,
 4
               Defendants.
 5
 6
     UNITED STATES OF AMERICA ex rel.          No. CV 14-3488 JLS (AJWx)
 7   JOHN DOE and ABC, LLC,
 8             Plaintiffs,
 9                    v.
10   INSYS THERAPEUTICS, INC.; ALEC
     BURLAKOFF; and MICHAEL L.
11   BABICH,
12             Defendants.
13
14
     UNITED STATES OF AMERICA ex rel.          No. CV 14-9179 JLS (AJWx)
15   TORGNY ANDERSSON,
16             Plaintiffs,
17                    v.
18   INSYS THERAPEUTICS, INC.,
19             Defendant.
20
21   UNITED STATES OF AMERICA ex rel.          No. CV 16-2956 JLS (AJWx)
     ALLISON ERICKSON and SARA
22   LUEKEN,
23             Plaintiffs,
24                    v.
25   INSYS THERAPEUTICS, INC.,
26             Defendant.
27
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                                           2
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 1   UNITED STATES OF AMERICA ex rel.                 No. CV 16-7937 JLS (AJWx)
     JANE DOE and the States of
 2   CALIFORNIA, COLORADO,
     CONNECTICUT, DELAWARE,
 3   FLORIDA, GEORGIA, HAWAII,
     ILLINOIS, INDIANA, IOWA,
 4   LOUSIANA, MARYLAND,
     MASSACHUSETTS, MICHIGAN,
 5   MINNESOTA, MONTANA, NEVADA,
     NEW JERSEY, NEW MEXICO, NEW
 6   YORK, NORTH CAROLINA,
     OKLAHOMA, RHODE ISLAND,
 7   TENNESSEE, TEXAS, VERMONT,
     VIRGINIA, WASHINGTON, the CITY
 8   OF CHICAGO, and the DISTRICT OF
     COLUMBIA,
 9
                  Plaintiffs,
10
                         v.
11
     INSYS THERAPEUTICS, INC. and
12   LINDEN CARE LLC,
13                Defendants.
14
15
16         Pursuant to this Court’s Order filed on May 11, 2018 (Docket No. 69), plaintiff
17   United States of America, by its attorneys, respectfully submits this status report to the
18   Court and the parties in these consolidated actions.
19         On August 9, 2018, the United States advised the Court that it and defendant Insys
20   Therapeutics, Inc. had reached a tentative settlement-in-principle, that the settlement-in-
21   principle was subject to further governmental and other approvals, and that the tentative
22   agreement resolved material terms that had been the subject of ongoing settlement
23   negotiations. The United States further advised the Court that, in the upcoming months,
24   the parties, including the intervening State and other governmental entities and the
25   relators, anticipated addressing various other related issues that were necessary to fully
26   resolve these actions.
27         Since the filing of the last Status Report, the parties have conducted discussions
28   regarding these settlement issues. At this time, the United States advises the Court that
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 1   these discussions are currently ongoing and remain incomplete. Among other things, the
 2   parties continue to discuss and attempt to resolve various criminal, civil, and
 3   administrative issues towards the finalization of the settlement-in-principle reached by
 4   them in August 2018.
 5         Counsel for the United States have further been recently advised by Assistant
 6   United States Attorneys in the District of Massachusetts who are familiar with the status
 7   of the related criminal action in that district, United States v. Babich, CR 16-10343-ADB
 8   (D. Mass. filed Dec. 6, 2016), that trial is anticipated to commence as previously
 9   scheduled in January 2019 and that, accordingly, the need for a stay of these civil actions

10   remains in place at this time.
           The United States will file a further status report within 90 days or as events may
11
     make such a further report necessary or desirable.
12
                                         Respectfully submitted,
13
      Dated: November 7, 2018            JOSEPH H. HUNT
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22
                                            /S/ John E. Lee
23                                       _____________________________________
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25                                       Attorneys for the United States of America

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27
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                                                  4
